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8
                                   UNITED STATES DISTRICT COURT
9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                            SAN JOSE DIVISION
11
                                                                          *E-FILED - 6/15/06*
12
13   UNITED STATES OF AMERICA,                   )         No. CR 05-00445-RMW
                                                 )
14        Plaintiff,                             )
                                                 )         STIPULATION TO CONTINUE
15     v.                                        )         SENTENCING HEARING
                                                 )          AND ORDER
16   NATHANIEL E. LOVELL,                        )
       aka Nate Lovell, aka pestilenc, aka pest, )
17                                               )
          Defendant.                             )
18                                               )
19        It is hereby stipulated and agreed between defendant Nathaniel Lovell, by and through his
20   counsel of record, Jack Gordon, Esq., and the United States, by and through Assistant United
21   States Attorney Mark L. Krotoski, as follows:
22        1. This matter is presently set for a sentencing hearing on June 12, 2006 at 9:00 a.m.
23        2. The parties request further time, until July 24, 2006, to address sentencing issues.
24        3. Probation has been advised of this request.
25   // // //
26   // // //
27   // // //
28

     STIPULATION REQUESTING CONTINUANCE OF SENTENCING HEARING AND ORDER
     CR 05-00445-RM W
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1       For the foregoing reasons, and that the ends of justice are served by continuing this case, the
2    parties stipulate and request to a continuance of the sentencing hearing from June 12, 2006 at
3    9:00 a.m. to July 24, 2006 at 9:00 a.m., or the next available date.
4       IT IS SO STIPULATED.
5    Dated: June __, 2006                                  KEVIN V. RYAN
                                                           United States Attorney
6
7
                                                           ________________________
8                                                          MARK L. KROTOSKI
                                                           Assistant United States Attorney
9
     Dated: June __, 2006
10
                                                           ________________________
11                                                         JACK GORDON
                                                           Attorney for Defendant
12
        IT IS SO ORDERED.
13
        Upon good cause shown, the sentencing hearing is continued from June 12, 2006 at 9:00 a.m.
14
     to July 24, 2006 at 9:00 a.m.
15
                 15 2006
     Dated: June __,
16
                                                            /S/ RONALD M. WHYTE
                                                           _________________________
17                                                         RONALD M. WHYTE
                                                           United States District Judge
18
19
     Distribute To:
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     U.S. Probation Officer
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     STIPULATION REQUESTING CONTINUANCE OF SENTENCING HEARING AND ORDER
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